4:04-cr-03156-RGK-DLP         Doc # 104    Filed: 10/21/05   Page 1 of 1 - Page ID # 279




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

USA,                                       )
                                           )
              Plaintiff,                   )                  4:04cr3156
                                           )
       v.                                  )
                                           )
JOE M. DELGADO JR.,                        )                    ORDER
                                           )
              Defendant.                   )
                                           )



       The Clerk's Office has requested that Document Number 102 be stricken from

the record for the following reason(s):

              •       Document filed in incorrect case.

       IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 102 from the record. The party is directed to re-file the document.

       DATED this 21st day of October, 2005.

                                          BY THE COURT:



                                          s/   David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
